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                      UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF PENNSYLVANIA

HERIBERTO COLON-TORRES,

                      Plaintiff

               v.

OCTAVIO     SERRANO,      ZEISLOFT
                                                      CASE NO. 5:24-CV-01745-JLS
TRUCKING, LLC d/b/a ZEISLOFT
LOGISTICS a/k/a ZEISLOFT TRUCKING
OF WEST DEPTFORD a/k/a CHARLES D.
ZEISLOFT TRUCKING,        ZEISLOFT
VENTURES, ROCK PRODUCTIONS,
INC., SAINT NICK LOGISTICS, LLC,
DAT SOLUTIONS, LCC, JOHN DOE, AND
ABC COMPANY,

                      Defendants.

                    AFFIDAVIT OF CHARLES DAVID ZEISLOFT, III

I, Charles David Zeisloft, III, hereby swear and affirm as follows:

       1.      I am the President and sole employee of Saint Nick Logistics, LLC.

       2.      I have personal knowledge of the facts set forth in this Affidavit.

       3.      Saint Nick Logistics, LLC was a company founded in 2020 that matches entities
               which need to haul materials from one location to another with freight
               haulers/carriers to undertake the timely and reliable delivery of a load.

       4.      Saint Nick Logistics, LLC has its principal place of business located at 1699 Crown
               Point Road, Thorofare, NJ 08086.

       5.      Saint Nick Logistics, LLC had no involvement with the accident that is the subject
               of the Complaint brought by Plaintiff Heriberto Colon-Torres and has no relation
               to Defendant, driver Octavio Serrano.

       6.      Saint Nick Logistics, LLC had no involvement with brokering any shipment as
               related to the accident that is the subject of the Complaint brought by Plaintiff
               Heriberto Colon-Torres.

       7.      Although Saint Nick Logistics, LLC has previously worked with Defendant
               Zeisloft Trucking, Saint Nick Logistics, LLC works with numerous trucking
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      companies and was not working with any company as related to any load being
      hauled by Octavio Serrano or any accident of March 9, 2022, as referenced in
      Plaintiff’s Complaint.

8.    Notably Saint Nick Logistics, LLC had not worked with Zeisloft Trucking, for the
      purposes of arranging for the hauling of freight during the entire month of the
      subject incident. Moreover, Saint Nick Logistics, LLC had not worked with
      Zeisloft Trucking for the month before or the month after the subject incident.

9.    Saint Nick Logistics, LLC had no ownership interests, involvement, duties or
      responsibilities as related to any of the vehicles involved in the accident of March
      9, 2022, as referenced in Plaintiff’s Complaint.

10.   As Saint Nick Logistics, LLC had no relation to the accident that is the subject of
      the Complaint brought by Plaintiff Heriberto Colon-Torres and had no involvement
      with brokering any shipment as related to the accident that is the subject of the
      Complaint, Saint Nick Logistics, LLC certainly did not involve or utilize DAT
      Solutions, LLC, or its services as related to this matter.



Date: June _14____, 2024                    _______________________________
                                            Charles D. Zeisloft, III
                                            President
                                            Saint Nick Logistics, LLC
